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 6
 7                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                      )   1:10-cr-23 AWI
                                                    )
11                           Plaintiff,             )
                                                    )
12                                                  )   (Proposed) ORDER REDUCING
                                      v.            )   DEFENDANT’s SENTENCE
13   VICTOR LUA,                                    )   (Fed.R.Crim.P. 35(b)(2)((C); U.S.S.G. § 5K1.1,
                                                    )   18 U.S.C. § 3553(f))
14                                                  )
                             Defendant.             )
15                                                  )   Honorable Anthony W. Ishii
                                                    )
16
17          The United States of America, by and through BENJAMIN B. WAGNER, the United States
18   Attorney for the Eastern District of California, and KATHLEEN A. SERVATIUS, Assistant United
19   States Attorney, and the defendant, by and through his attorney Dale Blickenstaff, having stipulated
20   and moved to reduce the defendant’s sentence by 40% in recognition of the defendant’s substantial
21   assistance to the government, and GOOD CAUSE appearing therefore,
22          IT IS HEREBY ORDERED that the defendant’s sentence shall be reduced by 25 months to a
23   term of 38 months.
24          IT IS FURTHER ORDERED that an amended judgement shall be entered reflecting this
25   reduction.
26   IT IS SO ORDERED.
27
     Dated:       June 27, 2012
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     0m8i78                                             CHIEF UNITED STATES DISTRICT JUDGE

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